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UNITED STATES OF AMERICA,
ex rel. ALEX DOE, Relator, et al.

V.

PLANNED PARENTHOOD
FEDERATION OF AMERICA, INC.,

et al.

 

U.S. DISTRICT COURT

IN THE UNITED STATES DISTRICT COURT eS OF TEXAS

FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION JAN 1 1 2022

Plaintiffs,

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Defendants. §
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CLERK, US, DISTRICT COMBS
By

 

 

Civil Action No. 2-21CV-022-Z
FILED IN CAMERA AND
UNDER SEAL PURSUANT TO
31 U.S.C. § 3730(b

DO NOT ENTER INTO PACER

JOINT ADVISORY REGARDING UNSEALING

 
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Relator Alex Doe, the United States of America, and the State of Texas file this
Joint Advisory Regarding Unsealing pursuant to the Court’s Order dated January
10, 2022.
Counsel for the parties have conferred pursuant to the Court’s Order regarding
the documents that (1) should be served on Defendants, and (2) the documents or
document excerpts that should remain sealed. The parties agree that the following
documents should be served on Defendants:
(1) Relator’s Complaint (Dkt. 2);
| (2) Certificate of Interested Persons/Disclosure Statement by Relator (Dkt. 3);
(3) Notice of Identity of Alex Doe (Dkt. 9);
| (4) Protective Order (Dkt. 12);
(5) Notice of Election to Intervene by State of Texas (Dkt. 16);
(6) Declination Notice by United States of America (Dkt. 18);
(7) Intervenor’s Complaint by State of Texas (Dkt. 22);
(8) Certificate of Interested Persons/Disclosure Statement by State of Texas
(Dkt. 24).
The parties agree that the following document should remain under seal:

(1) Notice of Identity of Alex Doe (Dkt. 9), for all the reasons stated in the
Court’s Protective Order (Dkt. 12).

The parties agree that aside from the above document, the other documents listed on

the sealed docket may be unsealed and made available to the public via PACER.

 
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! CONCLUSION

| For the reasons stated above, the parties respectfully request that the Court
maintain the above document under seal and that the Clerk’s Office issue the
summonses requested by Relator’s counsel so that the above-listed documents may

be served on Defendants.
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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document was

served upon the following via email:

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